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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ---------------------------------------------------------------X
   Esteban Marquez,                                                         JUDGMENT
                                                                            20-CV-05855 (DG) (RML)
                   Plaintiff.
           v.

   Indian Taj, Inc. d/b/a Santoor Indian Restaurant,
   Balvinder Singh, Harminder Singh, Joginder Singh,
   Kirpal Singh, Mehanga Singh,

                    Defendants.
   ---------------------------------------------------------------X
           A Memorandum and Order of the Honorable Diane Gujarati, United States District Judge,

  having been filed on September 27, 2022, adopting the Report and Recommendation of

  Magistrate Judge Robert M. Levy, dated August 5, 2022, granting Plaintiff’s Motion for Default

  Judgment; entering default judgments against all Defendants, jointly and severally; awarding

  Plaintiff damages as follows: $150,944.63 in unpaid wages, $150,944.63 in liquidated damages,

  and $5,000 in statutory damages; awarding pre-judgment interest on Plaintiff’s unpaid wages of

  $150,944.63 from May 14, 2016 to the date of this Court’s judgment at a per diem interest rate of

  $37.22, and post-judgment interest, to be calculated pursuant to 28 U.S.C. § 1961(a); awarding

  Plaintiff $13,582.50 in attorney’s fees, and costs in the amount of $965; and the Clerk of Court

  having calculated the prejudgment interest at the rate set forth above, and the prejudgment

  interest being $86,685.38; it is

          ORDERED and ADJUDGED that Plaintiff’s Motion for Default Judgment is granted;

  and that default judgments are hereby entered in favor of Plaintiff and against all Defendants,

  jointly and severally, in the total amount of $408,122.14 plus post-judgment interest, to be

  calculated pursuant to 28 U.S.C. § 1961(a).

  Dated: Brooklyn, New York                                           Brenna B. Mahoney
         September 29, 2022                                           Clerk of Court
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                                              By:   /s/Jalitza Poveda
                                                    Deputy Clerk
